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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

THE OFFICIAL STANFORD                          §
INVESTORS COMMITTEE, et al.,                   §
                                               §
       Plaintiffs,                             §
                                               §
v.                                             §           Civil Action No. 3:12-CV-4641-N
                                               §
GREENBERG TRAURIG, LLP, et al.,                §
                                               §
       Defendants.                             §

                                           ORDER

       This Order addresses Defendant Greenberg Taurig, LLP’s (“Greenberg”) motion to

dismiss or, in the alternative, for judgment on the pleadings [203]. Because Greenberg is

entitled to attorney immunity, the Court grants the motion for judgment on the pleadings and

dismisses Plaintiffs Samuel Troice, Michoacan Trust, and Pam Reed’s (“Class Plaintiffs”)

claims against Greenberg.

                           I. ORIGINS OF THE PARTIES’ DISPUTE

       This action is one of many arising from the Ponzi scheme perpetrated by R. Allen

Stanford, his associates, and various entities under his control. Class Plaintiffs are investors

who purchased fraudulent certificates of deposit issued by Stanford International Bank

Limited (“SIBL”). Seeking to represent themselves and all others similarly situated, Class

Plaintiffs bring suit against Greenberg, a law firm that performed legal services for Stanford.

They allege that Greenberg, primarily through its former partner Carlos Loumiet, conspired




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with Stanford to avoid regulation and detection, thereby extending the duration of Stanford’s

scheme.

       The facts of Stanford’s scheme are well established, see, e.g., Janvey v. Democratic

Senatorial Campaign Comm., 712 F.3d 185, 188–89 (5th Cir. 2013), and are not recounted

in great depth here. According to Class Plaintiffs, Greenberg’s involvement began decades

before Stanford’s scheme collapsed. Class Plaintiffs allege that, while at Greenberg, Loumiet

conspired with Stanford to take control of Antigua, where SIBL would later relocate, through

a series of multimillion dollar loans and furthered Stanford’s scheme by helping rewrite the

nation’s laws in order to reduce regulation of Stanford’s business activities. Class Plaintiffs

allege that, as part of the conspiracy, Loumiet and other Greenberg lawyers, among other

things, advised Stanford on how to operate unlicensed bank sales offices, represented

Stanford in a Securities and Exchange Commission inquiry, filed and threatened lawsuits

against journalists who raised questions about Stanford’s scheme, advised Stanford on

various registration issues, represented Stanford in multimillion dollar Antiguan real estate

projects, and corresponded with federal and state regulators. Relying on a respondeat

superior theory of liability, Class Plaintiffs bring this putative class action lawsuit against

Greenberg based on Loumiet’s conduct while at the firm.

       Now before the Court is Greenberg’s motion to dismiss or, in the alternative, for

judgment on the pleadings on the grounds that attorney immunity bars Class Plaintiffs’

claims. Because Greenberg is entitled to attorney immunity, the Court grants the motion for

judgment on the pleadings.




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               II. LEGAL STANDARD FOR JUDGMENT ON THE PLEADINGS

       Any party may move for judgment on the pleadings after the pleadings are closed

when so moving would not delay trial. FED. R. CIV. P. 12(c). “Rule 7(a) provides that the

pleadings are closed upon the filing of a complaint and an answer (absent a court-ordered

reply) . . . .” 5C CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND

PROCEDURE § 1367 at 213 (3d ed. 2004) (footnote omitted). If, however, “a counterclaim,

cross-claim, or third-party claim is interposed, . . . the filing of a reply to a counterclaim,

crossclaim answer, or third-party answer normally will mark the close of the pleadings.” Id.

(footnote omitted). A “defendant may not move under Rule 12(c) prior to filing an answer.”

Id. at 214.

       A Rule 12(c) motion “is designed to dispose of cases where the material facts are not

in dispute and a judgment on the merits can be rendered by looking to the substance of the

pleadings and any judicially noticed facts.” Hebert Abstract Co. v. Touchstone Props., Ltd.,

914 F.2d 74, 76 (5th Cir. 1990) (citation omitted). When ruling on a motion for judgment

on the pleadings pursuant to Rule 12(c), a court applies the same standard as that used for a

motion to dismiss under Rule 12(b)(6) for failure to state a claim upon which relief can be

granted. Doe v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir. 2008) (citation omitted); Great

Plains Trust Co. v. Morgan Stanley Dean Witter, 313 F.3d 305, 313 n.8 (5th Cir. 2002)

(citation omitted).




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                           III. ATTORNEY IMMUNITY IN TEXAS

       In its motion, Greenberg asserts that it is wholly immune from suit under Texas’

attorney immunity doctrine. Class Plaintiffs, however, essentially contend that three

exceptions to attorney immunity preclude Greenberg’s entitlement to such immunity in full

or in part: (1) the litigation context exception, which allegedly renders the immunity

inapplicable to attorney conduct that occurs outside of formal litigation; (2) the crime

exception, which allegedly renders the immunity inapplicable to an attorney’s criminal

conduct; and (3) the Texas Securities Act (“TSA”) exception, which allegedly renders the

immunity inapplicable to claims brought under the TSA, see TEX. REV. CIV. STAT. ANN. art.

581-33H. Because Texas law presently does not recognize any of these claimed exceptions,

the Court holds that Greenberg is wholly immune from suit.

                             A. Litigation Context Exception

       Class Plaintiffs first argue that Greenberg is not entitled to attorney immunity because

the immunity does not cover conduct that occurs outside of formal litigation. Here, some of

Loumiet’s conduct did not occur during formal litigation but instead during other forms of

client representation, such as advising Stanford on corporate transactions. The Court,

however, previously addressed this argument in a similar case, holding that this claimed

litigation context exception does not exist under Texas law. See Order 7–10 [52] in Dorrell

v. Proskauer Rose, LLP, Case No. 3:16-CV-1152-N (N.D. Tex). Thus, the fact that some of

Loumiet’s conduct occurred outside of formal litigation does not bar Greenberg’s entitlement

to attorney immunity.




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                                    B. Crime Exception

       Class Plaintiffs next argue that Greenberg is not entitled to attorney immunity because

such immunity does not cover an attorney’s criminal conduct. In particular, Class Plaintiffs

allege that Loumiet engaged in various forms of criminal conduct, including conspiracy to

commit wire fraud and mail fraud and aiding and abetting violations of the TSA. But the

Court previously addressed this argument in Dorrell, holding that this claimed crime

exception does not exist under Texas law and that the relevant inquiry is instead whether the

attorney’s conduct was within the scope of client representation. See id. at 11–14. Here, the

Court concludes that Loumiet and other Greenberg lawyers engaged in conduct – filing

lawsuits, corresponding with government agencies and officials, advising on corporate

transactions, preparing legal documents and contracts, drafting proposed legislation, etc. –

squarely within the scope of client representation. Accordingly, Greenberg is entitled to

attorney immunity.

                                     C. TSA Exception

       Class Plaintiffs finally argue that Greenberg is not entitled to attorney immunity

because the immunity does not apply to claims brought under the TSA. Here, Class Plaintiffs

have made a claim against Greenberg for aiding and abetting Stanford’s violations of various

provisions of the TSA. The Court, however, previously addressed this argument in Dorrell,

holding that this claimed TSA exception does not exist under Texas law. See id. at 14–15.

Greenberg is thus entitled to attorney immunity for all of Class Plaintiffs’ claims, including

those brought under the TSA.




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                                        CONCLUSION

       Because the litigation context, crime, and TSA exceptions to attorney immunity do

not exist at present under Texas state law and Loumiet’s alleged conduct was within the

scope of client representation, Greenberg is entitled to attorney immunity. Accordingly, the

Court grants Greenberg’s motion for judgment on the pleadings and dismisses Class

Plaintiffs’ claims against Greenberg in full. The Court further denies as moot Class

Plaintiffs’ motion for class certification [175]. Finally, the Court lifts the discovery stay it

previously ordered in this case, see Class Certification Scheduling Order 2 [142], thereby

allowing the remaining parties to commence merits discovery.

       Finding “no just reason for delay,” FED. R. CIV. P. 54(b), the Court directs entry of

final judgment as to Class Plaintiffs’ claims against Greenberg. It is therefore ordered that

Class Plaintiffs take nothing by their claims against Greenberg.

       Signed December 6, 2017.



                                                   _________________________________
                                                             David C. Godbey
                                                        United States District Judge




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